Case 1:16-mc-02999-DLI Document1 Filed 11/30/16 Page 1 of 3 PagelD #: 1

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UNITED STATES DISTRICT COURT ore
EASTERN DISTRICT OF NEW YORK a
x 2ShOY sO PH 198

 

MOHAMAD ELREDA ° Boe nae

Plaintiff,
NOTICE OF MOTION

against MISG@16 2999

UNITED STATES OF AMERICA :
Defendant(s). . Moten To EXPUNG é

x IRIZARRY CH.

PLEASE TAKE NOTICE that upon the annexed affidavit or

 

affirmation of MOHAMAD ELREDA , Sworn to or affirmed

 

NOVEMBER 30th , 2016 and upon the complaint herein,

 

plaintiff will move this Court, Chief Judge Honor Dora lrizarry , U.S.D.J.,

in room , United States Courthouse, Brooklyn, New York 11201,

on the day of , 20 , at or as soon
PROSE Planti tt

thereafter as esemeet can be heard, for an order pursuant to

Rule of the Federal Rules of Civil Procedure granting

-e MA
MY MOTION TOEXPoNIMAY CRIMINAL CASE # 10-CR-120(S-1)

 

 

Dated: 11/30/2016 Plaintiff Pro Se

Signature
MOHAMAD ELREDA
Print Name
2373 32nd Street FL 1
Address
ASTORIA, NY 11105
646 420-6444

Phone #

 

 

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Case 1:16-mc-02999-DLI Document 1 Filed 11/30/16 Page 2 of 3 PagelD #: 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

 

:; QBiSNOY 30 PH I: 53
MOHAMAD ELREDA : ee oo
Plaintiff, af SC T6299 9
-against- : uF eV )
UNITED STATES OF AMERICA : Motion: To Expunge
Defendant(s). :
X
STATE OF NEW YORK ) IRIZARRY, CH.J.
COUNTY OF Qucen> ) ss.:
I, MOHAMAD ELREDA , {being duly sworn] deposes and says

 

(or: make the following affirmation under the penalties of
perjury]:

I, MOHAMAD ELREDA , am the plaintiff in the above

 

entitled action, and respectfully move this Court to issue an
mk
order OF Ex PunaéIMy CRIMINAL RECORD CASE # 10-CR-120

The reason why I am entitled to the relief I seek is the

following: after completing my sentence, I have been a productive member of society and have not been charged w any felonies

 

 

job is declining and it has been difficult to find a stable and set ca fious charge.
EAPunget MR
Therefore, I would like to request that my criminal record be". _ ~.. Lhope to find better job opportunities to be able to continue providing for
my parents and my sister.

WHEREFORE, I respectfully request that the court grant the

within motion, as well as such other and further relief that may

be just and proper. S——

Sworn to before me this Signature

y Nov2D 20}

 

 

TAKARIAA ISSA MOHAMAD ELREDA
Notary Pubic, State of New York Print Your name
y Public Qualffed in Queens County ; Plaintiff Pro Se
My Commission Expires 07/12/2019

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Case 1:16-mc-02999-DLI Document 1 Filed 11/30/16 Page 3 of 3 PagelD #: 3

UNITED STATES DISTRICT COURT TT

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MOHAMAD ELREDA : eo fee
Plaintiff, : uo
: Affirmatigg of 9999
-against- : 1 1 5
MISU.A0, 9}
UNITED STATES OF AMERICA :
Defendants. : Motiow to EXpun ge

woe nnn x IRIZARRY, CH.J.

I, MOHAMAD ELREDA , declare under penalty

of perjury that I have served a copy of the attached Notice of
MR
Motion and Affirmation/Affidavit in support upon&XPUNAe'OF MY

CRIMINAL RECORD. CASE NUMBER 1t0-CR-120(S-1).

whose address 18: 2373 32ND STREET FLOOR | ASTORIA, NY 11105

 

Dated: __ 11/30/2016
QUEENS, New York

Signature

2373 32ND STREET FLOOR 1
Address

 

ASTORIA, NY 11105
City, State & Zip Code

 

646-420-6444
Telephone

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